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UNITED STATES BANKRUTPCY COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

INVOLUNTARY PETITION AGAINST A NON-INDIVIDUAL

1, Chapter of the Bankruptcy Code: Chapter 7

2. Debtor’s Name: The Bay Club of Naples, LLC, a Florida Limited Liability Company
3. Other names you know the debtor has used in the last 8 years: None

4, Debtor’s federal Employer Identification Number (EIN): Unknown

5. Debtor’s address:

Principal place of business: 1001 Tenth Ave. S, Ste. 102
Naples, FL 34102

Location of principal assets, if different from principal place of business:
801 12" Ave, $
Naples, FL 34102
6. Debtor’s website (URL): Unknown
7. Type of debtor: Corporation (including Limited Liability Company(LLC) and Limited
Liability Parmership (LLP)
8. Type of debtor’s business: Single Asset Real Estate (as defined in 1] U.S.C.
§101(51B)

9. To the best of your knowledge, are any bankruptcy cases pending by or against

any partner or affiliate of this debtor? No

 

 

 
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10. Venue: Over the last 180 days before the filing of this bankruptcy, the debtor had a
domicile, principal place of business, or principal assets in this district longer than any
other district.

11, Allegations:

The debtor is generally not paying its debts as they become due, unless they are the
subject of a bona fide dispute as to liability or amount,

12. Has there been a transfer of any claim against the debtor by or to any petitioner?
No.

13. Each petitioner’s claim

Name Nature of Claim Amount above lien value
Steven Louro Money Loaned $3,250,000
Frank Meak Money Loaned 4,075,000
The Rock Custom Homes, Inc. Construction services 100,000
Request for Relief

WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years. or both, 18
U.S.C. §§ 152, 1341, 1519, and 3571,

Petitioners request that an order for relief be entered against the debtor under the chapter of 11
U.S.C, specified in this petition. If a petition creditor is a corporation, attach the corporate
ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign
representative appointed in a foreign proceeding, attach a certified copy of the order of the court

granting recognition.

 
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] have examined the information in this document and have a reasonable belief that the information
is true and correct.

Petitioners or Petitioners’ Representative Attorney
Name and mailing address of petitioner
Robert A. Soriano
(Fla. Bar No. 445003)
Frank Meak Soriano Law, P.A.
2631 Palmer Cr 4830 West Kennedy Blvd.
Naples, FL 34113 Suite 600
Tampa, FL 33609
I declare under penalty of perjury that the (877) 830-2800
foregoing is true and correct. rsorlano@robsorianolaw.com

Executed on 7 SG “76 /s/ Robert A. Soriano
pei bidd Dated: July 26, 2019

gnatute-of petitioner

Name and mailing address of petitioner
The Rock Custom Homes, Inc.

3131 Laurel Ridge Court

Bonita Springs, FL 34134

I declare under penalty of perjury that the
foregoing is true and correct.

Executed on We i bs “t 4

The Rock Custom Homes, Inc.

By: WAS \ SS
William t
Its: President

 
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Name and mailing address of petitioner

Steven Louro
2 Hunters Way
Nissequogue, NY 11780

I declare under penalty of perjury that the
foregoing is true and correct.

 

 

Signature of Petidoner

 

 

 
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UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION

CORPORATE OWNERSHIP STATEMENT
PURSUANT TO FRBP 1007(a)(1) AND 7007.1
J, William Must, hereby declare under penalty of perjury under the laws of the United States
of America, state that the following is true and correct:
L. 1 am the president of The Rock Custom Homes, Inc., a Florida corporation and one
of the petitioning creditors in the involuntary petition against The Bay Club of Naples, LLC, a
Florida limited liability company.
a There are no entities that directly or indirectly own 10% or more of any class of the

corporation's equity interests.

Dated: Julyae , 2019 why

— Must
